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14
15                       UNITED STATES DISTRICT COURT
16                      CENTRAL DISTRICT OF CALIFORNIA
17
18 VIVINT, INC., a Utah corporation,          Case No. 8:22-cv-00034-DOC-DFM
19                        Plaintiff,          PLAINTIFF’S NOTICE OF
                                              INTERESTED PARTIES
20
                vs.
21                                            [L.R. 7.1-1]
     SB IP HOLDINGS, LLC,
22
                          Defendant.
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  Case 8:22-cv-00034-DOC-DFM Document 16 Filed 01/18/22 Page 2 of 2 Page ID #:185



 1         Pursuant to Local Rule 7.1-1 and Rule 7.1 of the Federal Rules of Civil Procedure,
 2 plaintiff Vivint, Inc. (“Vivint”) submits this Notice of Interested Parties in the above-
 3 captioned action (the “Action”) so as to enable the Court to evaluate possible
 4 disqualification or recusal:
 5         Vivint is a Utah corporation with its corporate headquarters in Provo, Utah.
 6         Vivint is a subsidiary of Vivint Smart Home, Inc. (“Smart Home”), a Delaware
 7 corporation with its headquarters in Provo, Utah. As such, Vivint’s shares are not
 8 publicly traded, although Smart Home is a public company (stock symbol VVNT).
 9         Blackstone Inc. (“Blackstone”), previously known as The Blackstone Group, Inc.,
10 and before that The Blackstone Group, L.P., is a Delaware corporation with its
11 headquarters in New York, New York. Blackstone or its affiliates own ten percent (10%)
12 or more of Smart Home’s issued shares of stock. Blackstone is a public company (stock
13 symbol BX).
14         Defendant SB IP Holdings LLC (“SBIP”) is a Delaware limited liability company
15 with its headquarters in Irvine, California.
16         SBIP is a wholly-owned subsidiary of SkyBell Technologies, Inc. (“SkyBell”), a
17 Nevada corporation with its headquarters in Irvine, California. SkyBell is a private
18 company.
19         The undersigned, Vivint’s counsel of record, certifies that each of the foregoing
20 entities (i.e., Vivint, Smart Home, Blackstone, SBIP, and SkyBell) may have a pecuniary
21 interest in the outcome of the Action:
22 DATED: January 18, 2022                   /s/ Sterling A. Brennan
23                                           STERLING A. BRENNAN
                                             MASCHOFF BRENNAN GILMORE & ISRAELSEN
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                                             Attorneys for Plaintiff Vivint, Inc.
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                                                              PLAINTIFF’S NOTICE OF INTERESTED PARTIES
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